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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

USA, )
Plaintiff,

vs. ) Case Number: CR 3:20-07
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TAMMIE BROLIN )
Defendant.

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